             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                        CIVIL NO. 1:07CV127-1-T
                               (1:02CR04)



HARRY N. MOODY,                  )
                                 )
              Petitioner,        )
                                 )
         v.                      )                   ORDER
                                 )
UNITED STATES OF AMERICA,        )
                                 )
              Respondent.        )
________________________________)


      THIS MATTER is before the Court on the Petitioner's motion to

vacate, set aside, or correct sentence pursuant to 28 U.S.C. § 2255, filed

April 9, 2007.

      After careful review of the motion and case file, the undersigned finds

that the United States Attorney should file an Answer detailing Petitioner’s

allegations and responding to each.

      IT IS, THEREFORE, ORDERED that the United States Attorney file

an Answer to Petitioner’s motion to vacate, set aside, or correct sentence,




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detailing Petitioner’s allegations and responding to each no later than 45

days from entry of this Order.


                                        Signed: May 9, 2007




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